Contract Incentive Detail - HVAC
Period : September 2023
                                                                                                                                                EXHIBIT E
EMPLOYEE INFORMATION

Employee                       : Dustin W Brown                                                                                Job Code                   : J07682

Employee ID                    : 1146775                                                                                       Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                               (SCPJ)
Branch/Dept                    : N57 - 0000                                                                                    Plan Effective Date       : 1/10/2007

Manager                        : Curtis M Crossley                                                                             Manager ID                : 1114917

Pay Suspend                    : No
 INCENTIVE SUMMAR

Contract Number                                      First Period      Cont Type   Status                  Vol          GM     Credit Split %        Estimated Total         Incentive Paid to      Estimated Remaining
                                                                                                                                                     Incentive               Date                   Incentive

0N570018                                             12/01/2019        PSR         Active        $127,687.00      $42,329.21         100%                      $3,369.37                $2,458.24                   $911.13

0N570057                                             08/01/2020        PSR         Transferred   $646,008.00     $124,283.55         100%                    $10,227.47                 $7,552.26                 $2,675.21

0N570059                                             10/01/2020        PSC         Transferred   $318,488.00      $41,549.03         100%                      $5,709.03                $4,741.98                   $967.05

1-118960760866                                       06/01/2022        PSA         Closed        $141,721.00      $37,138.99         100%                       $641.82                   $641.82                     $0.00

1-120572820697                                       02/01/2023        L&M         Closed         $24,420.00       $9,993.14         100%                      $1,003.32                $1,003.32                     $0.00

1-121901539866                                       10/01/2022        L&M         Closed             $543.00       $197.85          100%                        $12.33                    $12.33                     $0.00

1-122132543013                                       09/01/2022        PSA         Active         $65,955.00      $20,378.56          50%                      $2,802.05                $2,101.54                   $700.51

1-122151096470                                       10/01/2022        L&M         Closed           $5,108.78      $1,261.16         100%                        $86.05                    $86.05                     $0.00

1-126177484048                                       04/01/2023        L&M         Closed             $543.00       $197.85          100%                        $12.88                    $12.88                     $0.00

1-127375850165                                       01/01/2023        PSA         Active         $72,121.00      $32,472.47         100%                      $8,929.93                $6,697.45                 $2,232.48



1-127381496767                                       01/01/2023        PSA         Active         $61,157.00      $27,539.18         100%                      $7,573.27                $5,679.96                 $1,893.31

1-127562880740                                       03/01/2023        L&M         Closed             $450.78       $241.48          100%                        $21.37                    $21.37                     $0.00

1-127620947737                                       02/01/2023        PSA         Active         $13,740.00       $6,289.70           0%                            $0.00                  $0.00                     $0.00

1-127794976002                                       02/01/2023        PSA         Active           $8,492.00      $3,839.54         100%                      $1,055.87                  $791.91                   $263.96

1-127829447510                                       02/01/2023        PSA         Active         $18,855.00       $8,488.22         100%                      $2,334.26                $1,750.70                   $583.56

1-128184602858                                       07/01/2023        L&M         Closed         $19,987.00      $11,000.54         100%                       $962.26                   $962.27                    $-0.01

1-128211356079                                       03/01/2023        PSA         Active           $4,093.00        $-82.53         100%                            $0.00                  $0.00                     $0.00

1-128587675715                                       03/01/2023        PSA         Active           $8,541.00      $3,846.75         100%                      $1,057.86                  $793.39                   $264.47

1-128610651547                                       03/01/2023        PSA         Active           $5,242.00      $2,360.05         100%                       $649.01                   $486.76                   $162.25

1-128611973138                                       04/01/2023        L&M         Closed         $92,347.00      $25,501.33         100%                      $1,782.98                $1,782.98                     $0.00




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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                       : Dustin W Brown                                                                           Job Code                   : J07682

Employee ID                    : 1146775                                                                                  Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                          (SCPJ)
Branch/Dept                    : N57 - 0000                                                                               Plan Effective Date       : 1/10/2007

Manager                        : Curtis M Crossley                                                                        Manager ID                : 1114917

Pay Suspend                    : No
 INCENTIVE SUMMAR

Contract Number                                      First Period      Cont Type   Status              Vol         GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                Incentive              Date                   Incentive

1-128614219016                                       04/01/2023        L&M         Closed     $37,631.00     $11,626.34         100%                       $788.29                  $788.29                     $0.00



1-128635923651                                       04/01/2023        L&M         Closed       $1,749.80      $564.60          100%                        $37.85                   $37.85                     $0.00

1-128714227780                                       05/01/2023        L&M         Closed     $32,255.00      $8,996.25         100%                       $627.21                  $627.21                     $0.00



1-128765715576                                       04/01/2023        PSA         Active      $8,620.00      $1,874.85         100%                        $37.50                   $37.50                     $0.00
1-129218933295                                       05/01/2023        L&M         Closed     $61,699.00     $12,869.04         100%                       $982.79                  $982.79                     $0.00

1-129399315377                                       05/01/2023        PSA         Active     $11,067.00      $4,427.00         100%                        $88.54                   $88.54                     $0.00

1-129535328265                                       06/01/2023        PSA         Active       $2,527.00     $1,166.22         100%                        $23.32                   $23.32                     $0.00

1-129558162436                                       06/01/2023        L&M         Closed     $61,699.00     $14,356.23         100%                      $1,057.15               $1,057.15                     $0.00

1-129558162528                                       06/01/2023        L&M         Closed     $32,255.00      $8,996.25         100%                       $627.21                  $627.21                     $0.00



1-129772125723                                       06/01/2023        PSA         Active    $146,681.00     $40,438.03         100%                       $742.78                  $742.78                     $0.00

1-129790671646                                       07/01/2023        L&M         Closed     $61,699.00     $14,356.23         100%                      $1,057.15               $1,057.15                     $0.00

1-129790671823                                       07/01/2023        L&M         Closed     $32,255.00     $11,567.84         100%                       $755.79                  $755.79                     $0.00



1-129798921469                                       07/01/2023        L&M         Closed    $256,687.00     $50,992.55         100%                      $3,961.41               $3,961.41                     $0.00



1-129964035593                                       08/01/2023        L&M         Closed         $885.70      $380.86          100%                        $23.91                   $23.91                     $0.00

1-130219363458                                       07/01/2023        PSA         Active    $132,058.00     $56,305.97          50%                       $563.06                  $563.06                     $0.00

1-130328253133                                       08/01/2023        L&M         Closed     $32,255.00     $11,567.84         100%                       $755.79                  $755.79                     $0.00



1-130353959212                                       09/01/2023        L&M         Closed       $8,680.08     $5,410.91         100%                       $449.57                  $449.58                    $-0.01

1-130663685817                                       09/01/2023        L&M         Closed       $5,887.00     $4,455.37         100%                       $344.19                  $344.20                    $-0.01




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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                       : Dustin W Brown                                                                                 Job Code                   : J07682

Employee ID                    : 1146775                                                                                        Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                                (SCPJ)
Branch/Dept                    : N57 - 0000                                                                                     Plan Effective Date       : 1/10/2007

Manager                        : Curtis M Crossley                                                                              Manager ID                : 1114917

Pay Suspend                    : No
 INCENTIVE SUMMA

Contract Number                                      First Period      Cont Type   Status                   Vol          GM     Credit Split %        Estimated Total         Incentive Paid to      Estimated Remaining
                                                                                                                                                      Incentive               Date                   Incentive

1-130808467104                                       08/01/2023        PSA         Active          $10,150.00       $2,509.33         100%                            $0.00                  $0.00                     $0.00

1N570008                                             12/01/2020        PSR         Transferred   $1,926,407.00    $590,657.76         100%                    $47,947.57                $47,947.57                     $0.00

1N570020                                             01/01/2021        PSR         Closed         $129,500.00      $13,935.76          20%                        $379.60                  $379.60                     $0.00
1N570021                                             02/01/2021        PSC         Transferred    $211,616.00      $24,585.08         100%                      $2,587.18                $2,587.18                     $0.00
1N570029                                             04/01/2021        PSC         Transferred     $18,630.00       $4,023.71         100%                        $393.32                  $299.67                    $93.65

1N570031                                             05/01/2021        PSC         Closed          $92,300.00       $6,505.26         100%                       $847.95                   $847.95                     $0.00

1N570034                                             05/01/2021        PSR         Closed          $62,305.00       $7,843.23          25%                       $247.21                   $247.21                     $0.00

1N570036                                             07/01/2021        PSC         Transferred    $358,597.00      $75,180.73         100%                      $7,420.05                $7,420.06                    $-0.01

1N570042                                             08/01/2021        Prime       Closed          $17,450.00       $3,188.19         100%                       $290.54                   $290.54                     $0.00

1N570046                                             09/01/2021        Prime       Transferred       $9,339.10      $6,433.72         100%                       $490.89                   $490.89                     $0.00

1N570047                                             09/01/2021        PSR         Closed         $155,425.00      $33,619.17          25%                        $996.05                  $996.05                     $0.00
2N570005                                             11/01/2021        PSR         Transferred     $47,736.00      $17,013.72         100%                      $1,237.28                $1,237.28                     $0.00

2N570007                                             11/01/2021        Prime       Transferred    $506,940.97     $122,683.85          30%                      $3,328.10                $3,328.10                     $0.00

2N570011                                             12/01/2021        Prime       Active          $83,251.00      $30,645.44         100%                      $2,217.69                $1,558.05                   $659.64

2N570012                                             12/01/2021        PSR         Active         $252,202.71      $73,988.29         100%                      $5,559.09                $3,966.49                 $1,592.60

2N570015                                             01/01/2022        Prime       Transferred     $18,984.00       $9,973.39         100%                       $689.30                   $689.30                     $0.00

2N570016                                             02/01/2022        PSC         Transferred     $21,595.00       $8,686.79         100%                       $663.81                   $663.81                     $0.00

2N570019                                             03/01/2022        PSR         Transferred     $16,445.00       $6,672.19         100%                       $476.12                   $332.50                   $143.62

2N570020                                             03/01/2022        PSR         Closed          $13,790.00       $2,942.55         100%                       $236.13                   $236.13                     $0.00

2N570022                                             03/01/2022        Prime       Transferred     $49,960.00      $22,374.77         100%                      $1,575.89                $1,575.89                     $0.00

2N570024                                             03/01/2022        PSC         Active         $360,827.91      $88,505.40         100%                      $6,886.39                $4,981.31                 $1,905.08

2N570026                                             04/01/2022        PSR         Transferred     $26,610.00      $11,796.01         100%                       $885.11                   $631.21                   $253.90




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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                       : Dustin W Brown                                                                                 Job Code                   : J07682

Employee ID                    : 1146775                                                                                        Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                                (SCPJ)
Branch/Dept                    : N57 - 0000                                                                                     Plan Effective Date       : 1/10/2007

Manager                        : Curtis M Crossley                                                                              Manager ID                : 1114917

Pay Suspend                    : No
 INCENTIVE SUMMAR

Contract Number                                      First Period      Cont Type   Status                   Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                      Incentive              Date                   Incentive

2N570027                                             04/01/2022        PSR         Transferred     $22,610.00      $10,264.14         100%                       $721.68                  $721.68                     $0.00
2N570029                                             05/01/2022        PSR         Active          $90,690.00           $0.00         100%                        $93.71                  $362.88                  $-269.17

2N570030                                             06/01/2022        PSC         Active         $142,295.00      $51,786.88         100%                      $4,464.83               $3,649.20                   $815.63

2N570031                                             06/01/2022        PSR         Transferred     $10,566.00       $2,539.16         100%                       $272.74                  $272.74                     $0.00

2N570032                                             07/01/2022        Prime       Transferred    $174,722.88      $67,128.14         100%                      $5,641.60               $5,641.61                    $-0.01

2N570035                                             07/01/2022        Prime       Transferred     $45,061.87           $0.00          40%                       $254.02                  $254.02                     $0.00

2N570036                                             07/01/2022        Prime       Active         $201,485.13      $66,021.04          40%                      $3,247.88               $2,831.95                   $415.93

2N570037                                             07/01/2022        PSC         Active          $37,970.00      $15,277.19         100%                      $1,257.02                 $898.99                   $358.03
2N570038                                             08/01/2022        Prime       Closed          $23,595.00      $13,757.02         100%                        $972.99                 $973.00                    $-0.01

2N570039                                             08/01/2022        PSR         Active          $14,877.00       $7,754.63         100%                       $572.12                  $449.98                   $122.14

2N570041                                             08/01/2022        PSR         Active            $6,000.00      $2,969.91         100%                       $223.65                  $176.87                    $46.78

3EB40030                                             07/01/2023        PSC         Active          $73,000.00      $10,336.16          25%                       $252.53                  $153.04                    $99.49

3N220009                                             11/01/2022        PSR         Active          $228,645.00     $87,127.79         100%                     $8,214.76                $5,165.30                 $3,049.46
3N220054                                             03/01/2023        Prime       Active        $1,888,175.00    $702,025.60         100%                    $51,477.41               $33,201.57                $18,275.84

3N220098                                             08/01/2023        PSR         Active         $423,758.00     $143,376.65          50%                      $7,954.40               $5,445.31                 $2,509.09

3N570001                                             10/01/2022        PSR         Transferred     $17,990.00       $8,609.67         100%                       $734.08                  $734.08                     $0.00

3N570002                                             10/01/2022        PSC         Active          $19,672.00       $7,076.51         100%                       $685.78                  $561.94                   $123.84

3N570003                                             10/01/2022        PSC         Active         $235,487.00      $84,702.36         100%                      $8,208.96               $6,726.67                 $1,482.29

3N570004                                             11/01/2022        PSR         Transferred       $3,983.34      $3,351.18         100%                       $234.80                  $176.15                    $58.65

3N570005                                             11/01/2022        PSR         Transferred     $45,630.30      $27,247.19         100%                      $2,132.38               $1,655.56                   $476.82

3N570006                                             12/01/2022        Prime       Active          $88,940.00      $35,831.04         100%                      $3,292.41               $2,320.32                   $972.09

3N570007                                             04/01/2023        PSR         Transferred     $28,784.76      $15,685.25         100%                      $1,377.96               $1,377.96                     $0.00
3N570008                                             04/01/2023        Prime       Active          $64,987.00      $23,792.11         100%                      $2,529.97               $1,697.24                   $832.73


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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                       : Dustin W Brown                                                                                 Job Code                   : J07682

Employee ID                    : 1146775                                                                                        Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                                (SCPJ)
Branch/Dept                    : N57 - 0000                                                                                     Plan Effective Date       : 1/10/2007

Manager                        : Curtis M Crossley                                                                              Manager ID                : 1114917

Pay Suspend                    : No
 INCENTIVE SUMMAR

Contract Number                                      First Period      Cont Type   Status                   Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                      Incentive              Date                   Incentive

3N570009                                             04/01/2023        PSR         Transferred     $17,483.00       $7,741.88         100%                       $416.46                  $416.46                     $0.00

3N570010                                             05/01/2023        PSR         Active          $34,780.00      $12,531.14         100%                      $1,343.89               $1,055.81                   $288.08

3N570011                                             05/01/2023        PSR         Active          $49,987.00      $18,012.42         100%                      $1,931.61               $1,616.39                   $315.22

3N570012                                             06/01/2023        PSR         Active         $246,336.10      $82,437.49         100%                      $9,202.56               $6,317.25                 $2,885.31

3N570013                                             06/01/2023        PSC         Active        $2,230,299.00    $625,877.84         100%                    $53,687.50               $31,781.78                $21,905.72

3N570014                                             07/01/2023        PSR         Active          $15,887.00       $5,422.27         100%                       $598.79                  $409.01                   $189.78

3N570015                                             08/01/2023        Prime       Active          $10,073.87       $4,570.62         100%                       $436.32                  $356.34                    $79.98

3N570016                                             08/01/2023        Prime       Active          $10,073.87       $4,570.62         100%                        $436.32                 $356.34                    $79.98
3N570017                                             09/01/2023        PSR         Active          $31,173.00      $11,681.67         100%                      $1,227.02                 $818.17                   $408.85

4N760001                                             09/30/2023        Prime       Active          $97,540.60      $24,066.81          35%                       $608.94                  $314.12                   $294.82


Total                                                                                                                                                         $321,217.05             $250,097.26                $71,119.74




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